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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA, et al.,

                            Plaintiffs
                                                     Case N0. 20-cv-3010 (APM)
                     v.
                                                          Hon. Amit P. Mehta
GOOGLE LLC,

                            Defendant


STATE OF COLORADO, et al.,

                            Plaintiffs
                                                      Case N0. 20-cv-3715 (APM)
                     v.
                                                          Hon. Amit P. Mehta
GOOGLE LLC,

                            Defendant



                       MOTION OF GREGORY J. WERDEN
                     FOR LEAVE TO FILE AN AMICUS BRIEF

   Gregory J. Werden respectfully moves for leave to file an amicus curiae brief in

support of Google. All parties have consented to the filing of the proposed brief.

   The proposed brief argues that the Court’s remedy should not be designed to terminate

monopoly and that Plaintiffs’ proposed remedy is inappropriate.

   The motion and brief comply LCvR 7(0) and FRAP 29(a)(4). The brief complies with

the Court’s March 11, 2025 order, ECF No. 1186, specifying that amicus briefs are due by

May 9, 2025, and with the Court’s March 27, 2025 order, ECF No. 1200, specifying that

amicus briefs be no more than 20 pages double spaced.
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                                                                        MAY 7 2025
                                                                    Clerk, U.S. District & Bankruptcy
                                             1                      Court for the District of Columbia
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                             STATEMENT OF INTEREST

    I, Gregory J. Werden, have devoted my professional life to antitrust law and

economics. From 1977 to 2019, I served in the Antitrust Division of the U.S. Department

of Justice. I believe that I remain the only Antitrust Division employee ever to receive the

Justice Department’s Mary C. Lawton Lifetime Service Award.

    In retirement, I wrote a book titled The Foundations of Antitrust: Events, Ideas, and

Doctrines (Carolina Academic Press 2020). I published several major law review articles

on antitrust. And I submitted seven comments to antitrust enforcement agencies that

sought input from the public.

    While serving in the Antitrust Division, I worked on many amicus filings, and I now

file amicus briefs on my own. I submitted briefs to the Ninth Circuit in two cases now

under submission: Simon and Simon, PC v. Align Technology, Inc., Nos. 24-1703, 24-

1783; Epic Games, Inc. v. Google LLC, Nos. 24-6256, 24-6274.


                                      ARGUMENT

   The late Judge Boudin, who served on this Court before appointment to the First

Circuit, opined that “a court is usually delighted to hear additional arguments from able

amici that will help the court toward right answers.” Mass. Food Ass’n v. Mass. Alcoholic

Beverages Control Comm’n, 197 F.3d 560, 567 (1st Cir. 1999).

   Judge Alito of the Third Circuit declared that courts should “grant motions for leave

to file amicus briefs unless it is obvious that the proposed briefs do not meet Rule 29’s

criteria as broadly interpreted.” Neonatology Assocs., P.A. v. Comm’r, 293 F.3d 128, 133

(2002).




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   Chief Judge Posner of the Seventh Circuit, however, believed that courts generally

should “bar the gates to amicus curiae briefs” but should accept briefs that promise

“unique information or perspective that can help the court.” Ryan v. Commodity Futures

Trading Comm’n, 125 F.3d 1062, 1063–64 (7th Cir. 1997) (Posner, C.J., in chambers).

   Judge Bates of this Court likewise indicated that amicus briefs are appropriate when

“the amicus has unique information or perspective that can help the court.” Hard Drive

Prods., Inc. v. Does 1–1,495, 892 F. Supp. 2d 334, 337 (D.D.C. 2012) (quoting Jin v.

Ministry of State Sec., 557 F. Supp. 2d 131, 137 (D.D.C. 2008) (quoting Ryan)).


   Gregory J. Werden proposes to offer a unique perspective that can help the Court:

   The proposed brief offers the perspective of an antitrust scholar with a Ph.D. in

economics and publications cited in more than 1000 law review articles and in more than

20 antitrust decisions by U.S. federal courts. One judge applied the epithet “preeminent

antitrust theorist.” Castro v. Sanofi Pasteur Inc., 134 F. Supp. 3d 820, 839 (D.N.J. 2015).

   The proposed brief offers the perspective of an antitrust historian who has examined

every provision of every Sherman Act Section 2 decree: Gregory J. Werden, Remedies for

Exclusionary Conduct Should Protect and Preserve the Competitive Process, 76 Antitrust

Law Journal 65 (2009).

   The proposed brief offers the perspective of an antitrust enforcer with experience

spanning four decades and including two Sherman Act Section 2 cases with exclusive

dealing claims: United States v. Dentsply Int’l, Inc., 399 F.3d 181 (3d Cir. 2005); United

States v. Microsoft Corp., 253 F.3d 34 (D.C. Cir. 2001) (en banc) (per curiam).




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